 1   Evan Livingstone (SBN 252008)
     LAW OFFICE OF EVAN LIVINGTONE
 2   740 4th St. Suite 215
     Santa Rosa CA 95404
 3   Phone: (707) 206-6570
     Fax: (707) 676-9112
 4   Email: evanmlivingstone@gmail.com

 5   Attorney for Debtor Sheila Davis

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 8                                UNITED STATES BANKRUPTCY COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10    In re:                                                   Case No. 11-41673
                                                               Chapter    13
11    Sheila Davis                                             CORRECTED
                      Debtor(s)                                Notice of Hearing on Motion
12                                                             Requesting Discharge of Debtor

13                                                             Date:        March 11, 2019
                                                               Time:        1:30 PM
14                                                             Place:       1300 Clay St, Rm 220
                                                                            Oakland, CA 94612
15    __________________________________/                      Judge:       Hon. William J. Lafferty

16   TO ALL CREDITORS, CHAPTER 13 TRUSTEE, UNITED STATES TRUSTEE, ALL

17   PARTIES IN INTEREST, AND TO THEIR ATTORNEYS OF RECORD:

18             Please take notice. At the above date and time, the Court will hold a hearing on debtor’s

19   attached Motion Requesting Discharge.

20             Any opposition to confirmation must be filed and served fourteen (14) days prior to the

21   above hearing date. Failure to file timely written opposition may result in the motion being

22   resolved without oral argument and the striking of untimely written opposition.

23   Date: February 12, 2019                                /s/ Evan Livingstone
                                                            Evan Livingstone
24                                                          Attorney for Debtor

                  11-41673 – Notice of Hearing on Motion Requesting Discharge of Debtor – Page 1
     Case: 11-41673        Doc# 133      Filed: 02/12/19    Entered: 02/12/19 12:05:05        Page 1 of 4
 1   Evan Livingstone (SBN 252008)
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 4   Email: evanlivingstone@sbcglobal.net

 5   Attorney for Debtor Sheila Davis

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 7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10    In re:
                                                                      Case No.      11-41673
11    Sheila Davis                                                    Chapter       13
                       Debtor(s)
12                                                                    CERTIFICATE OF SERVICE

13                                                                    Date:         March 18, 2019
                                                                      Time:         1:30 PM
14                                                                    Place:        1300 Clay St, Rm 220
                                                                                    Oakland, CA 94612
15    __________________________________/                             Judge:        Hon. William J. Lafferty

16             I hereby certify that on February 12, 2019, a copy of the above CORRECTED NOTICE

17   OF HEARING ON MOTION REQUSTING DISCHARGE, and Debtor's MOTION

18   REQUESTING DISCHARGE was served, to the Chapter 13 Trustee, the United States Trustee

19   and to the creditors listed on the attached creditor matrix by first-class mail.

20   Date: February 12, 2019                                               /s/ Evan Livingstone
                                                                           Evan Livingstone
21

22

23

24
               11-41673 – Certificate of Service of Notice of Hearing on Motion Requesting Discharge of Debtor

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Label Matrix for local noticing                   Midland Funding LLC by American InfoSource L   Office of the U.S. Trustee/Oak
0971-4                                            PO Box 4457                                    Office of the United States Trustee
Case 11-41673                                     Houston, TX 77210-4457                         Phillip J. Burton Federal Building
Northern District of California                                                                  450 Golden Gate Ave. 5th Fl., #05-0
Oakland                                                                                          San Francisco, CA 94102-3661
Thu Feb 7 17:23:44 PST 2019
Vanda, LLC                                        Wells Fargo Bank, N.A                          Wells Fargo Bank, N.A. also known as Wachovi
c/o Weinstein & Riley, P.S.                       Pite Duncan, LLP                               PIte Duncan, LLP
2001 Western Ave., Ste. 400                       4375 Jutland Dr., Ste. 200                     c/o Arnold L. Graff
Seattle, WA 98121-3132                            PO Box 17933                                   4375 Jutland Drive, Suite 200
                                                  San Diego, CA 92177-7921                       P.O. Box 17933
                                                                                                 San Diego, CA 92177-7921
Wells Fargo Bank, N.A. also known as Wachovi      U.S. Bankruptcy Court                          % AT&T Services Inc.
Pite Duncan LLP                                   1300 Clay Street, Suite 300                    James Grudus, Esq.
Casper J. Rankin                                  Oakland, CA 94612-1426                         One AT&T Way, Room 3A218
4375 Jutland Drive Suite 200                                                                     Bedminster, NJ 07921-2693
PO Box 17933
San Diego, CA 92177-7921
Asset Acceptance Llc (Original Cred               Asset Acceptance, LLC   assignee CHASE         Asset Acceptance, LLC assignee ZALES / CITI
Po Box 2036                                       PO Box 2036                                    PO Box 2036
Warren, MI 48090-2036                             Warren, MI 48090-2036                          Warren, MI 48090-2036



Brclysbankde                                      Candica L.L.C                                  Cooperative Ctr Fcu
P.O. B 8803                                       C O Weinstein And Riley, Ps                    2001 Ashby Ave
Wilmington, DE 19899-8803                         2001 Western Avenue, Ste 400                   Berkeley, CA 94703-2588
                                                  Seattle, WA 98121-3132


Cpu/Cbsd                                          Eaf Llc (Original Creditor:08 Ge Mo            Fresn Cb Col (Original Creditor:Med
Po Box 6497                                       1120 West Lake Co Suite B                      757 L Street P O Box 942
Sioux Falls, SD 57117-6497                        Buffalo Grove, IL 60089-1970                   Fresno, CA 93721-2904



Gemb/Mervyns                                      Midland Funding LLC                            Ndex West LLC
Po Box 981400                                     by American InfoSource LP as agent             15000 Surveyor Blvd #500
El Paso, TX 79998-1400                            PO Box 4457                                    Addison, TX 75001-4417
                                                  Houston, TX 77210-4457


Portfolio Investments I LLC                       (p)PORTFOLIO RECOVERY ASSOCIATES LLC           (p)SPRINT NEXTEL CORRESPONDENCE
c/o Recovery Management Systems Corporat          PO BOX 41067                                   ATTN BANKRUPTCY DEPT
25 SE 2nd Avenue Suite 1120                       NORFOLK VA 23541-1067                          PO BOX 7949
Miami FL 33131-1605                                                                              OVERLAND PARK KS 66207-0949


Wells Fargo Bank NA                               Wells Fargo Bank, N.A.                         Wells Fargo Dealer Services, Inc.
ATTENTION: Bankruptcy Department                  c/o Pite Duncan, LLP                           PO Box 19657
MAC #T7416-023                                    4375 Jutland Drive, Suite 200                  Irvine, CA 92623-9657
4101 Wiseman Blvd                                 P.O. Box 17933
San Antonio, TX 78251-4200                        San Diego, CA 92177-7921

Wfds/Wds                                          Wfhm/Gdw                                       Zales/Cbsd
Po Box 1697                                       Loan Service Custo Po Box 659558               Po Box 6497
Winterville, NC 28590-1697                        San Antonio, TX 78265                          Sioux Falls, SD 57117-6497

              Case: 11-41673           Doc# 133      Filed: 02/12/19           Entered: 02/12/19 12:05:05     Page 3 of 4
Evan Livingstone                                     Martha G. Bronitsky                                  Sheila Davis
Law Offices of Evan Livingstone                      P.O. Box 5004                                        863 57th St
740 Fourth St #215                                   Hayward, CA 94540-5004                               Oakland, CA 94608-2834
Santa Rosa, CA 95404-4421




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery Associates, LLC                   Sprint Nextel Correspondence                         (d)Sprint Nextel Distribution
POB 41067                                            Attn Bankruptcy Dept                                 Attn: Bankruptcy Dept
Norfolk VA 23541                                     PO Box 7949                                          P.O. Box 3326
                                                     Overland Park KS 66207-0949                          Englewood, CO 80155-3326




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Vanda, LLC                                        End of Label Matrix
c/o Weinstein & Riley, P.S.                          Mailable recipients      32
2001 Western Ave., Ste. 400                          Bypassed recipients       1
Seattle, WA 98121-3132                               Total                    33




              Case: 11-41673           Doc# 133         Filed: 02/12/19            Entered: 02/12/19 12:05:05          Page 4 of 4
